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         < Details             Inventory Record              PDF


          Wayside Horn
          No



          Wayside Horn Installed On
          N/A


          Highway Traffic Signals Controlling Crossing
          No



          Number of Bells
          0



          Non-Train Active Warning
          N/A


          Other Flashing Lights or Warning Devices
          0



          Other Flashing Lights or Warning Devices
          (Specify type)
          N/A


          Does Nearby Hwy Intersection have Traffic Signals?
          Yes



          Highway Traffic Signal Interconnection
          Not Interconnected




          Highway Traffic Signal Preemption
          N/A


          Highway Traffic Pre-Signals
          No



          Highway Traffic Pre-Signals - Storage Distance
          N/A


          Highway Traffic Pre-Signals - Stop Line Distance
          N/A


          Highway Monitoring Device
          N/A
